          Case 1:21-cr-00126-BAH Document 39 Filed 08/04/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :      Case No. 21-CR-126 (BAH)
                                                      :
               v.                                     :
                                                      :
TROY FAULKNER,                                        :
                                                      :
                        Defendant.                    :
___________________________________                   :

          GOVERNMENT’S RESPONSE TO THE COURT’S MINUTE ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia respectfully submits this Response to the Court’s Minute Order regarding

the above-captioned matter currently scheduled for a plea hearing on August 5, 2022. In support

of this motion, the government relies on the following points and authorities and any other such

points and authorities as may be raised at any hearing on this matter.

       On August 3, 2022, the Court issued a Minute Order directing the government, “by 4 PM

on August 4, 2022, to (1) submit a report describing the source, length and location depicted for

all photo and video evidence relied upon as support for the Statement of Offense filed in connection

with defendant's plea agreement; (2) make such photo and video evidence available for the Court's

review; and FURTHER DIRECTING the parties to provide their positions whether this photo and

video evidence may be made publicly available without restriction.”

        Consistent with the Court’s Minute Order above, undersigned counsel for the government

can report the following: 1) at the sentencing hearing, the government will submit a total of five

(5) photos which were recovered from the defendant’s Facebook pages by law enforcement during

the execution of a Court-authorized search warrant, and a one minute and eight second (1:08) video

taken from an open-source public video platform. In addition, the window, in which defendant

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          Case 1:21-cr-00126-BAH Document 39 Filed 08/04/22 Page 2 of 2




Faulkner admits to kicking in the above photos and video, is located near the NW Senate Doors of

the U.S. Capitol and described more fully by the Architect of the Capitol as United States Capitol

Building - S1CR4S; 2) undersigned counsel for the government will move into evidence at the

plea hearing and will send to the Court and counsel for the defendant all noted five (5) photos and

one video for review prior to the plea hearing; and 3) the parties further state that the photos and

video entered into evidence may be made publicly available without restriction.

       Wherefore, the government submit this Response to the Court’s Minute Order regarding

the above-captioned matter.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar No. 481052

                                      By:      /s/ Emory V. Cole
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